                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                                     )
                                                           )                       CHAPTER         13
DAINON TARQUINIUS SIDNEY                                   )                       CASE NO:        313-09063
SSN: XXX-XX-7845                                           )                       JUDGE:          LUNDIN
605 Lakemeade Pointe                                       )
Old Hickory, TN 37138                                      )
                                                           )
         Debtor                                            )
THE DEADLINE FOR FILING A TIMELY RESPONSE IS: July 7, 2014
IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: July 23, 2014 at 8:30 a.m. Courtroom 1, Customs
House, 701 Broadway, Nashville, Tennessee 37203.

                                            NOTICE OF OBJECTION TO CLAIM

         Debtor has asked the court for the following relief: objection to claim

          YOUR RIGHTS MAY BE AFFECTED. If you do not want the court to grant the attached motion, or if you want the
court to consider your views on the motion, then on or before July 7, 2014, you or your attorney must:

1.       File with the court your response or objection explaining your position. PLEASE NOTE: THE BANKRUPTCY
         COURT FOR THE MIDDLE DISTRICT OF TENNESSEE REQUIRES ELECTRONIC FILING. ANY
         RESPONSE OR OBJECTION YOU WISH TO FILE MUST BE SUBMITTED ELECTRONICALLY. TO FILE
         ELECTRONICALLY, YOU OR YOUR ATTORNEY MUST GO TO THE COURT WEBSITE AND FOLLOW
         THE INSTRUCTIONS AT: <https://ecf.tnmb.uscourts.gov> .

         If you need assistance with Electronic Filing you may call the Bankruptcy Court at (615) 736-5584. You may also visit
         the Bankruptcy Court in person at: US Bankruptcy Court, 701 Broadway, 1 st Floor, Nashville, TN (Monday - Friday,
         8:00 A.M. - 4:00 P.M.).

2.       Your response must state that the deadline for filing responses is July 7, 2014, the date of the scheduled hearing is
         July 23, 2014 and the motion to which you are responding is an objection to claim

3.       You must serve your response or objection by electronic service through the Electronic Filing system described
         above. You must also mail a copy of your response or objection to:

                   Debtor(s) Counsel
                   Salas Law Group, PLLC
                   33 Music Square W Ste 100A              AND All creditors and parties in interest per attached
         Nashville TN 37203                                certificate of service.


           If a response is filed before the deadline stated above, the hearing will be held at the time and place indicated above.
THERE WILL BE NO FURTHER NOTICE OF THE HEARING DATE. You may check whether a timely response has been
filed by calling the Clerk’s office at (615) 736-5584 or viewing the case on the Court’s website at <www.tnmb.uscourts.gov>.

         If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in the
motion and may enter an order granting that relief.




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                       IN THE UNITED STATES BANKRUPTCY COURT
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IN RE:                                            )
                                                  )             CHAPTER        13
DAINON TARQUINIUS SIDNEY                          )             CASE NO:       313-09063
SSN: XXX-XX-7845                                  )             JUDGE:         LUNDIN
605 Lakemeade Pointe                              )
Old Hickory, TN 37138                             )
                                                  )
         Debtor                                   )

                     OBJECTION TO CLAIM FILED BY SUNTRUST BANK

         Comes the debtor, through counsel, Salas Law Group, PLLC, and objects to the claim filed

by SunTrust Bank in the amount of $142,614.78.             This is claim number 1 according to the

bankruptcy court’s website, and was filed on October 25, 2013. Debtor’s counsel has reviewed the

claim. It is debtor’s position that the full balance of the claim is not due immediately, as indicated in

the claim. The fact that the creditor has “charged off” the account does not prohibit the debtor

from curing any pre-petition arrearage and paying the ongoing payment in this Chapter 13 case per

the terms of the note and deed of trust. Therefore debtor requests that this claim be denied. Debtor

further moves that the Chapter 13 Trustee not disburse any funds currently “reserved” for this

creditor/claim while this objection is pending.

                                                  Respectfully Submitted,

                                                  /s/ Maria M. Salas
                                                  Maria M. Salas #015646
                                                  Salas Law Group, PLLC
                                                  Attorney for Debtor(s)
                                                  33 Music Square W, Suite 100A
                                                  Nashville, TN 37203
                                                  (615) 244-6246 (telephone)
                                                  (615) 386-3708 (facsimile)
                                                  notice@salaslawgroup.com




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605 Lakemeade Pointe                         )
Old Hickory, TN 37138                        )
                                             )
         Debtor                              )



                                  CERTIFICATE OF SERVICE

        I certify that on this 4th day of June, 2014, I mailed/emailed a copy of the foregoing to the
Office of the Chapter 13 Trustee, P.O. Box 190664, Nashville, TN 37219; to the Office of the U.S.
Trustee, Customs House, 701 Broadway, Nashville, TN 37203; to the debtor(s) at the above
referenced address; and to SunTrust Bank, Attn: Support Services, PO Box 85092, Richmond, VA
23286.



TOTAL MAILINGS: 2

Attachments:
                  (1)   Notice of Objection
                  (2)   Objection
                  (3)   Copy of Proposed Order




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